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                                       UNITED STATES DISTRICT COURT
                                                DISTRICT OF MARYLAND

              CHAMBERS OF                                                                 U.S. COURTHOUSE
           CATHERINE C. BLAKE                                                        101 WEST LOMBARD STREET
      UNITED STATES DISTRICT JUDGE                                                  BALTIMORE, MARYLAND 21201
                                                                                             (410) 962-3220
                                                                                           Fax (410) 962-6836
                                                April 28, 2020


MEMORANDUM TO COUNSEL

       Re:      United States v. Dante Bailey
                Criminal No. CCB-16-0267

Dear Counsel:

       Thank you for your responses to my recent order (ECF 1485). I request that the
government file its motion to partially unseal its sentencing memorandum. Once that is filed, I
will approve it so the press can have access to the redacted version. Also, I am authorizing
David Ciambruschini of our Clerk’s Office to provide an electronic copy of the defense
memorandum to the reporter on the conditions described.


                                                     Sincerely yours,

                                                            /S/

                                                     Catherine C. Blake
                                                     United States District Judge

cc:    David Ciambruschini
